Case 1:20-cv-21553-MGC Document 187 Entered on FLSD Docket 07/01/2020 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 20-21553-CIV-COOKE/GOODMAN


     PATRICK GAYLE, et al.,

               Petitioners,
     v.

     MICHAEL W. MEADE, et al.,

           Respondents.
     ________________________________________/

          NOTICE OF DECLARATION IN RESPONSE TO THE COURT’S ORDER

          Respondents, by and through the undersigned counsel, file the Declaration of Acting

   Officer in Charge Liana J. Castano in reference to item 4(b) in the District Court’s Omnibus Order

   [DE:158].

          1.       Declaration of Liana J. Castano, Acting Officer in Charge (OIC), See Exhibit A.



                                                Respectfully submitted,

                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES ATTORNEY

                                         By:    s/ Dexter A. Lee
                                                DEXTER A. LEE
                                                Assistant U.S. Attorney
                                                Fla. Bar No. 0936693
                                                99 N.E. 4th Street, Suite 300
                                                Miami, Florida 33132
                                                (305) 961-9320
                                                E-mail: dexter.lee@usdoj.gov
Case 1:20-cv-21553-MGC Document 187 Entered on FLSD Docket 07/01/2020 Page 2 of 2



                                     s/Natalie Diaz
                                     NATALIE DIAZ
                                     ASSISTANT U.S. ATTORNEY
                                     Florida Bar No. 85834
                                     E-mail: Natalie.Diaz@usdoj.gov
                                     99 N.E. 4th Street, Suite 300
                                     Miami, Florida 33132
                                     Telephone: (305) 961-9306

                                     ATTORNEYS FOR RESPONDENTS




                                       -2-
